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    MOTION FOR JOINDER OR STAY OF DISPOSITIVE-MOTIONS DEADLINE


    Defendants Superintendence of the Catholic Schools of the Archdioceses San Juan

and Samuel Soto respectfully request to join the two motions (just filed, ECF Nos. 152 and

153) to extend the dispositive-motions deadline until December 20, 2017. For the reasons

averred by Defendants Juan Santa and Rosa Figueroa (Docket No. 152), a December 20,

2017 deadline to file dispositive motions is warranted here. Moreover, nobody will be

prejudiced by this request. Nor would it delay the case.
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    It bears mentioning that, because a motion-to-dismiss is pending here, a stay of the

summary-judgment deadline would make sense. After all, a ruling on that motion could

not only provide guidance from this Court on the threshold issue here, but also moot any

summary-judgment motions. By staying this deadline until it rules on the motion to the

dismiss, then, this Court would honor Federal Rule of Civil Procedure 1.

     For the reasons stated, and because the appearing parties have shown good cause

for the requested joinder, extension, or stay, they respectfully request that this Court grant

this motion and therefore extend the dispositive-motions deadline until December 20,

2017, or stay it until after ruling on the motion to dismiss.

 Dated: November 20, 2017                        Respectfully submitted,


                                               Sanabria Bauermeister Garcia & Berio,
                                               Attorneys for the Superintendence of Catholic
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                                               Samuel Soto

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                             CERTIFICATE OF SERVICE

      I certify that, on this day, the foregoing was electronically filed with the Clerk of

Court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.



                                     By: /s/ Arturo V. Bauermeister
